 Case 1:21-cv-01456-MN Document 56 Filed 03/31/22 Page 1 of 2 PageID #: 3463




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 CBV, INC.,

               Plaintiff/Counterclaim-
               Defendant,
                                                   C.A. No. 1:21-cv-01456-MN
        v.

 CHANBOND, LLC,

               Defendant/Crossclaim-
               Defendant,

 DIERDRE LEANE, and IPNAV, LLC,

               Defendants/Counterclaim-
               Plaintiffs/Crossclaim-
               Plaintiffs.

                                  NOTICE OF SERVICE

              PLEASE TAKE NOTICE that on March 31, 2022, Defendants Deirdre Leane and

IPNAV, LLC’s Responses And Objections To Plaintiff’s First Set Of Requests For Production Of

Documents were served via electronic mail on:

 Geoffrey G. Grivner, Esq.                      Stephen B. Brauerman, Esq.
 Kody M. Sparks, Esq.                           Ronald P. Golden, III, Esq.
 BUCHANAN, INGERSOLL                            BAYARD, P.A.
  & ROONEY PC                                   600 N. King Street, Ste. 400
 500 Delaware Avenue, Suite 720                 Wilmington, DE 19801
 Wilmington, DE 19801-3036                      sbrauerman@bayardlaw.com
 geoffrey.grivner@bipc.com                      rgolden@bayardlaw.com
 kody.sparks@bipc.com

 Attorneys for CBV, Inc.                        Attorneys for ChanBond, LLC
Case 1:21-cv-01456-MN Document 56 Filed 03/31/22 Page 2 of 2 PageID #: 3464




OF COUNSEL:                          /s/ James H. S. Levine
                                     James H. S. Levine (DE No. 5355)
Akiva M. Cohen                       TROUTMAN PEPPER
Dylan M. Schmeyer                      HAMILTON SANDERS LLP
KAMERMAN, UNCYK,                     Hercules Plaza, Suite 5100
 SONIKER & KLEIN P.C,                1313 N. Market Street
1700 Broadway, 16th Floor            P.O. Box 1709
New York, NY 10019                   Wilmington, DE 19899-1709
212.400.4930                         302.777.6500
acohen@kusklaw.com                   james.levine@troutman.com
dschmeyer@kusklaw.com
                                     Attorneys for Deirdre Leane and IPNAV, LLC
Dated: March 31, 2022




                                    -2-
